   Case: 1:19-cv-02726 Document #: 17 Filed: 05/07/19 Page 1 of 4 PageID #:146




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS


RANCHERS CATTLEMEN ACTION
LEGAL FUND UNITED STOCKGROWERS                  Case No. 1:19-cv-02726
OF AMERICA; WEINREIS BROTHERS
PARTNERSHIP; MINATARE FEEDLOT
INC; CHARLES WEINREIS; ERIC
NELSON; JAMES JENSEN d/b/a LUCKY 7
ANGUS; and RICHARD CHAMBERS AS
TRUSTEE OF THE RICHARD C.                       Judge John J. Tharp, Jr.
CHAMBERS LIVING TRUST on Behalf of
Themselves and All Other Similarly Situated,

                     Plaintiffs,

                     v.

TYSON FOODS, INC.; TYSON FRESH
MEATS, INC.; JBS S.A.; JBS USA FOOD
COMPANY; SWIFT BEEF COMPANY; JBS
PACKERLAND, INC.; CARGILL,
INCORPORATED; CARGILL MEAT
SOLUTIONS CORPORATION; MARFRIG
GLOBAL FOODS S.A.; NATIONAL BEEF
PACKING COMPANY, LLC; and JOHN
DOES 1-10;

                     Defendants.




                          NOTICE OF VOLUNTARY DISMISSAL
    Case: 1:19-cv-02726 Document #: 17 Filed: 05/07/19 Page 2 of 4 PageID #:147




       Plaintiffs Ranchers Cattlemen Action Legal Fund United Stockgrowers of America,

Weinreis Brothers Partnership, Minatare Feedlot, Inc., Charles Weinreis, Eric Nelson, James

Jensen d/b/a Lucky 7 Angus, and Richard Chambers as trustee of the Richard C. Chambers Living

Trust (“Plaintiffs”) – by and through their undersigned counsel and in accordance with Fed. R.

Civ. P. 41(a)(1)(A)(i) – hereby voluntarily dismiss this action without prejudice.

Dated: May 7, 2019                           Respectfully submitted:
                                             SCOTT+SCOTT ATTORNEYS AT LAW LLP


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Case: 1:19-cv-02726 Document #: 17 Filed: 05/07/19 Page 3 of 4 PageID #:148




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                                     2
    Case: 1:19-cv-02726 Document #: 17 Filed: 05/07/19 Page 4 of 4 PageID #:149




                                CERTIFICATE OF SERVICE

       I, Peter A. Barile, an attorney, hereby certify that the foregoing NOTICE OF

VOLUNTARY DISMISSAL was electronically filed on May 7, 2019, and will be served

electronically via the Court’s ECF Notice system upon the registered parties of record.



                                             /s Peter A. Barile III
                                             Peter A. Barile III




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